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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                     2:05-cr-114-FtM-33DNF

MARIO DOMINGUEZ
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                                       ORDER

      This matter comes before the Court pursuant to the Motion for

Judgment of Acquittal As to Counts I and II (Doc. #124) filed by

Dominguez on June 2, 2006.       The government filed a response (Doc.

#127) on June 7, 2006.

      A motion for acquittal is governed by Federal Rule of Criminal

Procedure 29.     “As the text of the Rule indicates, and as courts

and other authorities have recognized, ‘[t]he sole ground for a

post-trial    motion   under    Rule    29(c)    is   that   the   evidence   was

insufficient to sustain a conviction.’” United States v. Hunt, 412

F. Supp. 2d 1277, 1282 (11th Cir 2005)(quoting United States v.

Miranda, 425 F.3d 953, 963 (11th Cir. 2005)).                “The standard for

assessing the sufficiency of evidence is whether any reasonable

view of the evidence, considered in the light most favorable to the

government, is sufficient to allow a jury to find guilt beyond a

reasonable doubt.”       United States v. Leonard, 138 F.3d 906, 908

(11th Cir. 1998)(citing United States v. Bush, 28 F.3d 1084, 1087

(11th Cir. 1994).

      Dominguez    claims      that     the     government’s       evidence   was
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insufficient to sustain the guilty verdict.                 The Court disagrees.

The   government    introduced         evidence      through     several    witness.

However,   the   Court    need        only    look   to   one    witness,   Morales,

Dominguez’s co-conspirator, to find the evidence sufficient for a

reasonable jury to convict Dominguez for the crimes charged.

Morales    testified     that    he     and    Dominguez      jointly   operated    a

marijuana cultivation enterprise in Cape Coral.                    Morales further

testified that the purpose of the enterprise was to grow, harvest,

and eventually sell the marijuana.

      “[U]ncorroborated testimony of an accomplice may be enough to

support a conviction if the testimony is not on its face incredible

or otherwise insubstantial.” United States v. Garcia, 405 F.3d

1260, 1270 (11th Cir. 2005)(citing United States v. Butler, 792

F.2d 1528, 1536 (11th Cir. 1986)).               Dominguez does not claim that

Morales’s testimony is insubstantial.                Rather, Dominguez attacks

Morales’s credibility. However, credibility determinations are the

jury’s    province,    not      the    Court’s,      unless     the   testimony    is

“unbelievable on its face.” Id. (citing United States v. Rivera,

775 F.2d 1559, 1561 (11th Cir. 1985)).                Testimony is unbelievable

on its face if it was physically impossible for the witness to have

observed the event or the event could not have occurred under the

laws of nature. Rivera, 775 F.2d at 1561. Morales’s testimony does

not fit into either of these categories.                        As such, Morales’s

testimony alone is sufficient to sustain the jury’s verdict.

      Accordingly, it is now
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      ORDERED, ADJUDGED, and DECREED:

      The Motion for Judgment of Acquittal As to Counts I and II

(Doc. #124) is DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this 21st day of

June, 2006.




Copies:
All Counsel of Record
